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DB

UNITED STATES DISTRICT COURT
EASTERN DISTRICT OF NEW YORK

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UNITED STATES OF AMERICA
- against -
CHENG WEI HUANG,
Defendant.
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EASTERN DISTRICT OF NEW YORK, SS:

TO BE FILED UNDER SEAL

AFFIDAVIT & COMPLAINT
IN SUPPORT OF AN
ARREST WARRANT

(18 U.S.C. §§ 912 and 2)

Case No, 23-MJ-707

SARAH VAN FOSSEN, being duly sworn, deposes and states that she is a

Special Agent with the Federal Bureau of Investigation, duly appointed according to law and

acting as such.

On or about July 16, 2023, within the Eastern District of New York and

elsewhere, the defendant, CHENG WEI HUANG, together with others, did knowingly and

willfully falsely pretend to be an officer acting under the authority of the United States, and

subsequently acted as such.

(Title 18, United States Code, Sections 912 and 2)

The source of your deponent’s information and the grounds for her belief are as

follows: !

1, I am a Special Agent with the Federal Bureau of Investigation (“FBI”) and

have been since 2022. During my time at the FBI, I have been involved in the investigation of

' Because the purpose of this Complaint is to set forth only those facts necessary to
establish probable cause to arrest, I have not described all the relevant facts and circumstances of

which I am aware.
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numerous cases concerning armed robberies and impersonation. I am familiar with the facts and
circumstances set forth below from my review of the investigative file, including the defendant’s
criminal history record; from reports of other law enforcement officers involved in the
investigation; and my participation in the investigation.

2. On or about 7:00 a.m. on July 16, 2023, the defendant, CHENG WEI
HUANG, and an accomplice, Rustambek Zokirov, approached two victims in the parking garage
in the basement of the apartment complex where the victims reside. WEI HUANG and Zokirov
then brandished purported firearms, identified themselves to the victims as FBI agents,
handcuffed the victims, and escorted the victims to an elevator in the garage leading to the
victims’ apartment. WEI HUANG and Zokirov told the victims that they were FBI agents and
that the victims needed to bring WEI HUANG and Zokirov to their apartment for questioning.

3. Once inside the apartment, WEI HUANG and Zokirov restrained the
victims with, among other things, duct tape, and also brandished purported firearms, which WEI
HUANG and Zokirov threatened to use on the victims if they did not cooperate. WEI HUANG
and Zokirov then stole various items, including credit cards, designer handbags and luxury
jewelry, a cellular device owned by one of the victims, the keys to the victims’ Mercedes-Benz,
and approximately $30,000 in cryptocurrency.

4, At or about 9:00 p.m. on July 16, 2023, WEI HUANG and Zokirov left the
apartment with the stolen items and exited the apartment complex’s parking garage in the
victims’ Mercedes-Benz.

5. At or about 11:00 p.m. on July 16, 2023, the victims contacted the New

York Police Department (“NYPD”) to report the incident.
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6. On or about July 18, 2023, NYPD officers located the victims’ Mercedes-
Benz in a parking garage located in Manhattan, New York. The parking garage is maintained
by on-duty attendants who possess keys for the cars parked in the garage. Based on probable
cause to believe that the victims’ Mercedes-Benz was stolen, NYPD officers seized the
Mercedes-Benz from the garage and informed the on-duty attendant to contact them if anyone
subsequently requested the keys for the Mercedes-Benz.

7. On or about July 20, 2023, two individuals entered the Manhattan parking
garage, approached the on-duty attendant, and requested the keys for the Mercedes-Benz. One
of these individuals, identified as Zokirov, is shown in Figure 1 below. The attendant then
requested the individual to produce identification. The individual produced a New York State
driver’s license in the name of Rustambek Zokirov, which the attendant photographed, as shown
in Figure 2 below. The picture of Zokirov from his New York State driver’s license matches
one of the accomplices shown in video footage from the victims’ apartment building, as well as
video footage from the Manhattan parking garage.

8. The attendant then informed Zokirov that the Mercedes-Benz was seized
by law enforcement, to which Zokirov responded that he was a law enforcement officer. The
attendant then provided Zokirov with contact information for the NYPD. Zokirov then called
the NYPD via a cellular device with a call number of 347-348-6026, which is registered to
Zokirov.

9, On August 2, 2023, law enforcement searched Zokirov’s residence and
arrested him pursuant to a search and arrest warrant concerning the above-described conduct.
Inside of Zokirov’s residence, Zokirov’s mother identified WEI HUANG as Zokirov’s

accomplice in the above-described July 16, 2023 robbery. After waiving his Miranda rights,

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Zokirov also identified WEI HUANG as his accomplice in the above-described July 16, 2023
robbery. Further, inside of Zokirov’s residence, a credit card in WEI HUANG’s name was
found.
WHEREFORE, your deponent respectfully requests that an arrest warrant be
issued so that the defendant, CHENG WEI HUANG, may be dealt with according to law.
/s/ Sarah Van Fossen
SARAH VAN FOSSEN

Special Agent,
Federal Bureau of Investigation

Sworn to before me tetephenicalyr this 2 day of August, 2023

EA
